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                                      Exhibit C

                                  Beers Declaration




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                                  Chapter 11

AMYRIS, INC., et al.,                                                   Case No. 23-11131 (TMH)

                                      Debtors.1                         (Jointly Administered)
                                                                        Ref. Docket No. ____

    DECLARATION OF LORIE R. BEERS IN SUPPORT OF DEBTORS’ APPLICATION
                  FOR ENTRY OF AN ORDER (I) AUTHORIZING
                     THE RETENTION AND EMPLOYMENT
                   OF INTREPID INVESTMENT BANKERS LLC
                 AS INVESTMENT BANKER FOR THE DEBTORS
                 AND DEBTORS IN POSSESSION, PURSUANT TO
              11 U.S.C. §§ 327(A) AND 328, NUNC PRO TUNC TO THE
           PETITION DATE; (II) WAIVING CERTAIN REQUIREMENTS
     IMPOSED BY LOCAL RULE 2016-2; AND (III) GRANTING RELATED RELIEF

                    I, Lorie R. Beers, under penalty of perjury, declare as follows:

                    1.       I am Managing Director and Head of Special Situations at Intrepid

Investment Bankers LLC (“Intrepid”). Intrepid is the proposed investment banker to the above-

captioned debtors and debtors in possession (collectively, the “Debtors”). I submit this declaration

(this “Declaration”) in support of the Debtors’ Application for Entry of an Order (I) Authorizing

the Retention and Employment of Intrepid as Investment Banker for the Debtors and Debtors in

Possession, Pursuant to 11 U.S.C. §§ 327(a) and 328, nunc pro tunc to the Petition Date; (II)

Waiving Certain Requirements Imposed by Local Rule 2016-2; and (III) Granting Related Relief,

filed contemporaneously herewith (the “Application”).2



1
       A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
       claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
       place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
       Emeryville, CA 94608.
2
    Capitalized terms used but not otherwise defined in this Declaration shall have the meanings ascribed to them in the
      Application.


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                 2.          Unless otherwise indicated, all facts set forth in this Declaration are based

on my personal knowledge, my discussions with the Debtors’ management and other

professionals, members of the Intrepid team, or other interested parties, my review of relevant

documents, or my opinion based upon my experience, knowledge, and information concerning the

Debtors’ operations and financial affairs. If called upon to testify, I would testify competently to

the facts set forth in this Declaration. To the extent that any information disclosed herein requires

subsequent amendment or modification upon Intrepid’s completion of further analysis or as

additional creditor information becomes available to it, one or more supplemental declarations will

be submitted to the Court reflecting the same.

                 3.          Intrepid has agreed to provide financial advisory and investment banking

services to the Debtors pursuant to the terms and conditions set forth in that certain engagement

letter between Intrepid and the Debtors, dated as of July 21, 2023, a copy of which is attached to

the Application as Exhibit B (the “Engagement Agreement”).

                 4.          Intrepid is a specialty investment bank that provides M&A advisory, buy-

side target search, capital advisory, and special situations advisory services to entrepreneur and

family-owned companies, private equity sponsors, and major corporations, through dedicated

banking teams with over four decades of deep industry sector experience. Intrepid is the advisory

arm of Mitsubishi UFJ Financial Group, one of the largest financial organizations in the world.

Intrepid is headquartered in Los Angeles, California, with offices in New York, Chicago,

Charlotte, and Menlo Park.

                 5.          Intrepid has a dedicated capital advisory group, whose special situations

professionals have extensive expertise providing investment banking services to financially

distressed companies, creditors, committees, equity holders, asset purchasers, and other



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constituencies in reorganization proceedings and complex financial restructurings, both in and out

of court. Intrepid’s professionals have served as investment bankers and financial advisors in

numerous chapter 11 cases, including but not limited to: In re Tritek Int’l Inc., No. 23-10520

(TMH) (Bankr. D. Del. June 8, 2023) (advising debtor); In re Watsonville Hosp. Corp.,

No. 21-51477 (Bankr. N.D. Cal. Dec. 5, 2021) (advising debtor); In re Aluminum Shapes, LLC,

No. 21-16520 (JNP) (Bankr. D.N.J. Oct. 8, 2021) (advising debtor); In re Garrett Motion Inc.,

No. 20-12212 (Bankr. S.D.N.Y. Feb. 5, 2021) (advising Official Equity Committee); In re Carla’s

Pasta, Inc., No. 21-20111 (Bankr. D. Conn. Mar. 22, 2021) (advising debtors); In re Mishti

Holdings, LLC, No. 1911813 (CSS) (Bankr. D. Del. Dec. 16, 2019) (advising debtors); In re Sienna

Biopharmaceuticals, Inc., No. 19-12051 (MFW) (Bankr. D. Del. Oct. 15, 2019) (advising debtor).

                 6.          Moreover, the Debtors have employed Intrepid since July 21, 2023, during

which time Intrepid professionals have worked closely with the Debtors’ management and other

professionals in preparing for these Chapter 11 Cases and have become familiar with the Debtors’

business operations, capital structure, creditors, and other matters. Specifically, Intrepid assisted

and advised the Debtors in connection with the Debtors’ marketing and sale process in the time

preceding the Petition Date.

                 7.          Intrepid does not believe that the services that it will render on behalf of the

Debtors in these Chapter 11 Cases will be duplicative of the services performed by any other

professional, and Intrepid will work together with the other professionals retained by the Debtors

to minimize and avoid duplication of services.

                 8.          To check potential connections with the Debtors and other parties in interest

in these Chapter 11 Cases, Intrepid searched to determine whether it had any relationships with

the entities identified by the Debtors and its representatives as potential parties in interest listed on



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Schedule 1 hereto (the “Potential Parties in Interest”). Based on such review, Intrepid has

determined that none of the Potential Parties in Interest were current or former investment banking

clients of Intrepid within the past three years.

                 9.          As part of its investment banking and financial advisory activities, Intrepid

may be involved in numerous cases, proceedings, and transactions involving many different

attorneys, accountants, investment bankers, and financial consultants, some of whom may

represent claimants and parties in interest in these Chapter 11 Cases. Further, Intrepid may have

in the past, and may in the future, advised or have been represented by several attorneys, law firms,

and other professionals, some of whom may be involved in these Chapter 11 Cases. Finally,

Intrepid may have in the past, and will likely in the future, be working with or against other

professionals involved in these Chapter 11 Cases in matters wholly unrelated to these Chapter 11

Cases. Based upon my current knowledge of the professionals involved in these Chapter 11 Cases,

and to the best of my knowledge, none of these business relationships constitute interests adverse

to the interests of the Debtors’ estates or of any class of creditors or equity security holders in

matters upon which Intrepid is to be employed, and none are in connection with these

Chapter 11 Cases.

                 10.         Intrepid may also represent, or may have represented, affiliates, equity

holders, or sponsors of the Potential Parties in Interest. Certain of the Potential Parties in Interest

may also be vendors or insurers of Intrepid or have other non-investment banking relationships

with Intrepid. Intrepid may also represent, or may have represented in the past, committees or

groups of lenders or creditors in connection with certain restructuring or refinancing engagements,

which committees or groups include, or included, entities that appear on the Potential Parties in




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Interest list. Intrepid believes that none of these business relationships constitute interests adverse

to the interests of the Debtors’ estates, and none are in connection with these Chapter 11 Cases.

                 11.         The Debtors have numerous creditors and relationships with a large number

of individuals and entities that may be parties in interest in these Chapter 11 Cases. Consequently,

although every reasonable effort has been made to discover Intrepid’s connections with the

Potential Parties in Interest, Intrepid is unable to state with certainty whether any of its clients or

an affiliated entity of a client holds a claim or otherwise is a party in interest in these Chapter 11

Cases. If Intrepid discovers any information that is contrary or pertinent to the statements made

herein, Intrepid will promptly disclose such information to the Court.

                 12.         Except as otherwise set forth herein, to the best of my knowledge,

information, and belief, neither Intrepid nor any employee of Intrepid: (i) is a creditor, equity

security holder, or an insider of the Debtors; or (ii) is or was, within two years before the Petition

Date, a director, officer, or employee of any of the Debtors. In addition, none of the Intrepid

professionals expected to assist the Debtors in these Chapter 11 Cases are related or connected to

any United States Bankruptcy Judge for the District of Delaware, the United States Trustee for the

District of Delaware (the “U.S. Trustee”), or any person employed in the office of the U.S. Trustee.

                 13.         During the 90 days before the Petition Date, Intrepid was paid in the

ordinary course certain fees and expenses due under the Engagement Agreement. Specifically, on

August 2, 2023, the Debtors paid Intrepid an Initial Restructuring Fee of $150,000 and on August

8, 2023, the Debtors paid Intrepid an expense advance of $15,000. Intrepid will apply the expense

advance first to any expenses incurred but not reimbursed prior to the Petition Date, and second to

any expenses incurred after the Petition Date.




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                 14.         For the reasons set forth in this Declaration, Intrepid believes that it: (i) is

a disinterested person as defined in the Bankruptcy Code; and (ii) does not hold or represent any

interest adverse to the Debtors’ estates.

                 15.         The Fee and Expense Structure set forth in the Application is consistent with

Intrepid’s typical fee for work of this nature. The fees are set at a level designed to compensate

Intrepid fairly for the work of its professionals and assistants and to cover fixed and routine

overhead expenses. It is Intrepid’s policy to charge its clients for all disbursements and expenses

incurred in connection with its services.

                 16.         It is not the general practice of investment banking firms to keep detailed

time records similar to those customarily kept by attorneys. Intrepid’s restructuring professionals,

when formally retained in chapter 11 cases, and when required by local rules, do, and in these

Chapter 11 Cases will, keep time records in half-hour increments describing their daily activities

and the identity of persons who performed such tasks.

                 17.         The Fee and Expense Structure is comparable to those generally charged by

investment banking firms of similar stature to Intrepid and for comparable engagements, both in

and out of court, and reflects a balance between a fixed, monthly fee, and contingent amounts that

are tied to the consummation and closing of a transaction as contemplated in the

Engagement Agreement.

                 18.         The Engagement Agreement was negotiated at arm’s length and in good

faith, and I believe that the provisions contained therein are reasonable terms and conditions of

Intrepid’s employment by the Debtors.                 With respect to the Engagement Agreement’s

indemnification provisions, unlike the market for other professionals that a debtor or committee

may retain, indemnification is a standard term of the market for investment bankers. Moreover,



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the indemnity is comparable to those generally obtained by investment banking firms of similar

stature to Intrepid and for comparable engagements, both in and out of court.

                 19.         Other than as set forth above, there is no proposed arrangement between the

Debtors and Intrepid for compensation to be paid in these Chapter 11 Cases. Intrepid has no

agreement with any other entity to share any compensation received, nor will any be made, except

as permitted under section 504(b)(1) of the Bankruptcy Code.

                 20.         The foregoing constitutes the statement of Intrepid pursuant to section 504

of the Bankruptcy Code and Bankruptcy Rules 2014(a) and 5002.

                 Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct.

        Executed on August 24, 2023                        /s/ Lorie R. Beers
                                                           Lorie R. Beers
                                                           Managing Director
                                                           Intrepid Investment Bankers LLC




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                                     Schedule 1

                             Potential Parties in Interest




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                                 NAME                                            TYPE
       Foris,Ventures,LLC                                           5% or More Equity Holders
       Chief Judge Laurie Selber Silverstein                        Bankruptcy Judges
       Judge Ashely M. Chan                                         Bankruptcy Judges
       Judge Brendan L. Shannon                                     Bankruptcy Judges
       Judge Craig T. Goldblatt                                     Bankruptcy Judges
       Judge J. Kate Stickles                                       Bankruptcy Judges
       Judge John T. Dorsey                                         Bankruptcy Judges
       Judge Karen B. Owens                                         Bankruptcy Judges
       Judge Mary F. Walrath                                        Bankruptcy Judges
       Judge Thomas M. Horan                                        Bankruptcy Judges
       Fenwick & West LLP                                           Bankruptcy Professionals
       Goodwin Procter LLP                                          Bankruptcy Professionals
       Latham & Watkins                                             Bankruptcy Professionals
       Pachulski Stang Ziehl & Jones LLP                            Bankruptcy Professionals
       Paul Hastings                                                Bankruptcy Professionals
       PwC                                                          Bankruptcy Professionals
       Stretto                                                      Bankruptcy Professionals
       Klee Tuchin Bogdanoff & Stern LLP                            Bankruptcy Professionals
       Bank of the West                                             Banks
       Barclays                                                     Banks
       HSBC                                                         Banks
       J.P. Morgan SE                                               Banks
       JPMorgan Chase Bank, N.A.                                    Banks
       US Bank                                                      Banks
       U.S. Bank National Association, as Trustee for Convertible   Bondholders - Indenture Trustee
       Notes
       AB Technologies LLC                                          Debtor or Debtor affiliate
       Accessbio LLC                                                Debtor or Debtor affiliate
       AMF Low Carbon, LLC                                          Debtor or Debtor affiliate
       Amyris Bio Products Portugal, Unipessoal, Lda                Debtor or Debtor affiliate
       Amyris Biotecnologia do Brasil Ltda                          Debtor or Debtor affiliate
       Amyris Clean Beauty Latam                                    Debtor or Debtor affiliate
       Amyris Clean Beauty, Inc.                                    Debtor or Debtor affiliate
       Amyris Eco-Fab LLC                                           Debtor or Debtor affiliate
       Amyris Europe Trading B.V.                                   Debtor or Debtor affiliate
       Amyris Fermentacao de Performance Ltda                       Debtor or Debtor affiliate
       Amyris Fuels, LLC                                            Debtor or Debtor affiliate
       Amyris Purificacao de Performance do Brasil Ltda             Debtor or Debtor affiliate
       Amyris Realsweet, LLC                                        Debtor or Debtor affiliate
       Amyris UK Trading Limited                                    Debtor or Debtor affiliate
       Amyris, Inc.                                                 Debtor or Debtor affiliate
       Amyris-Olika, LLC                                            Debtor or Debtor affiliate
       Aprinnova, LLC                                               Debtor or Debtor affiliate
       Beauty Labs International Limited                            Debtor or Debtor affiliate
       Clean Beauty 4U LLC                                          Debtor or Debtor affiliate
       Clean Beauty Collaborative, Inc.                             Debtor or Debtor affiliate
       DIPA Co., LLC                                                Debtor or Debtor affiliate
       Ecofab, LLC                                                  Debtor or Debtor affiliate
       Interfaces Industria e Comercio de Cosméticos Ltda           Debtor or Debtor affiliate
       MG Empower Limited                                           Debtor or Debtor affiliate
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       Novvi LLC                                                Debtor or Debtor affiliate
       Onda Beauty Inc.                                         Debtor or Debtor affiliate
       Total Amyris Bioslutions BV                              Debtor or Debtor affiliate
       Upland 1 LLC                                             Debtor or Debtor affiliate
       Ana Dutra                                                Director (current)
       Frank Kung                                               Director (current)
       Geoffrey Duyk                                            Director (current)
       Jim McCann                                               Director (current)
       John Doerr                                               Director (current)
       Julie Washington                                         Director (current)
       Lisa Qi                                                  Director (current)
       Philip Eykerman                                          Director (former)
       Patrick Yang                                             Director (former)
       Ryan Panchadsaram                                        Director (current)
       Steven Mills                                             Director (current)
       M Freddie Reiss                                          Director (current)
       Alexander MS, Ralph C.                                   Director (former)
       Arnold Ph.D., Frances Hamilton                           Director (former)
       bin Khalifa Al Thani, Sheikh Abdullah                    Director (former)
       Blanch Ph.D., Harvey W.                                  Director (former)
       Bohlmann Ph.D., Jörg                                     Director (former)
       Boisseau, Philippe                                       Director (former)
       Chua Ph.D., Nam-Hai                                      Director (former)
       de Castro Reinach Ph.D., Fernando                        Director (former)
       de Oliveira Diniz, Paulo Sergio                          Director (former)
       Fenical, William H.                                      Director (former)
       Georgiadis, Mary Margaret-Hastings                       Director (former)
       Goppelsroeder, Christoph G.                              Director (former)
       Heathcock Ph.D., Clayton H.                              Director (former)
       Keasling Ph.D., Jay D.                                   Director (former)
       Levinson, Arthur D.                                      Director (former)
       Martin Ph.D., Vincent                                    Director (former)
       Melo, John G.                                            Director (former)
       Newman, Jack D.                                          Director (former)
       Ostrach J.D., Michael S.                                 Director (former)
       Pichette, Patrick                                        Director (former)
       Piwnica LLM, Carole Callebaut                            Director (former)
       Reiling, Kinkead Kinkead                                 Director (former)
       Renninger Ph.D., Neil                                    Director (former)
       Soares Portela, Mario Neutel                             Director (former)
       Williams, R. Neil                                        Director (former)
       ACE American Insurance Company                           Insurance
       Everest Indemnity Insurance Company                      Insurance
       Federal Insurance Company                                Insurance
       Hiscox                                                   Insurance
       TDC National Assurance Company                           Insurance
       Travelers                                                Insurance
       Underwriters at Lloyd's London                           Insurance
       3700 Highway 421 Owner LLC                               Landlords
       Design District Development Pa                           Landlords
       Emerystation Triangle, LLC                               Landlords
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      ES East, LLC                                                 Landlords
      Holis R&D Associates                                         Landlords
      Oak Plaza Associates (DEL), LLC                              Landlords
      Palm Beach Holdings 3940, LLC                                Landlords
      Park Wynwood LLC                                             Landlords
      Anesma Group, LLC                                            Lenders
      Anjo Ventures, LLC                                           Lenders
      DSM Finance B.V.                                             Lenders
      Foris Ventures, LLC                                          Lenders
      Perrara Ventures, LLC                                        Lenders
      Amyris, Inc. v. Lavvan, Inc.                                 Litigation
      AO Representative Expense Fund, LLC,                         Litigation
      Austrade Inc.                                                Litigation
      BaM Productions, Inc. v. Amyris Clean Beauty, Inc.           Litigation
      Disruptional Ltd. and &Vest Beauty Labs LP v. Amyris, Inc.   Litigation
      Ebates Performance Marketing Inc. dba Rakuten Rewards et     Litigation
      al. v.
      IN RE AMYRIS, INC. Stockholder Derivative Litigation         Litigation
      (Other Defendants: Melo, Doerr, Kung, Duyk, Mills and
      former D&Os)
      Jasmina Samardzic v. Amyris, Inc.                            Litigation
      Keith Jordan Bronsdon v. Amyris, Inc.                        Litigation
      Lavvan Inc. v. Amyris, Inc.                                  Litigation
      Little Bear Studios v. Amyris Clean Beauty et al.            Litigation
      Park Wynwood, LLC v. Amyris, Inc.                            Litigation
      PMG Worldwide LLC v. Amyris Clean Beauty, Inc                Litigation
      Reid Architecture PLLC v. Amyris, Inc.                       Litigation
      Roth v. Foris Ventures, LLC et al.                           Litigation
      Strukmyer, LLC v. Amyris Clean Beauty, Inc.                  Litigation
      Velem LLC v. Amyris Clean Beauty, Inc.                       Litigation
      Wilkins Media, LLC, v. Amyris, Inc.                          Litigation
      Ziegelman et al. v. Amyris, Inc.                             Litigation
      Alvarez, Eduardo                                             Officer (current)
      Dreyer CPA, Elizabeth E.                                     Officer (current)
      Kieftenbeld, Hermanus                                        Officer (current)
      Hughes, Anthony                                              Officer (former)
      Kelsey, Nicole                                               Officer (former)
      Melo, John G.                                                Officer (former)
      Valiasek, Kathleen                                           Officer (former)
      Accell Global Risk Solutions, Inc.                           Ordinary Course Professionals
      Accenture LLP                                                Ordinary Course Professionals
      CFGI Holdings, LLC                                           Ordinary Course Professionals
      Clark & Elbing LLP                                           Ordinary Course Professionals
      Cowen & Company LLC                                          Ordinary Course Professionals
      Deloitte Tax LLP                                             Ordinary Course Professionals
      Duff & Phelps LLC                                            Ordinary Course Professionals
      Global Retirement Partners, LLC                              Ordinary Course Professionals
      Hanson Bridgett LLP                                          Ordinary Course Professionals
      Hulst & Handler LLP                                          Ordinary Course Professionals
      Macias Gini & O'Connell LLP                                  Ordinary Course Professionals
      Michael Herrinton                                            Ordinary Course Professionals
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       Oppenheimer & Co. Inc.                                    Ordinary Course Professionals
       Shipman & Goodwin LLP                                     Ordinary Course Professionals
       Squire Patton Boggs                                       Ordinary Course Professionals
       Deloitte Consulting, LLP                                  Other Professionals
       Fish & Richardson P.C.                                    Other Professionals
       Gibson, Dunn & Crutcher LLP                               Other Professionals
       Macias Gini & O'Connell LLP                               Other Professionals
       Shearman & Sterling LLP                                   Other Professionals
       US Environmental Protection Agency                        Government/Regulatory Agencies
       DEA                                                       Government/Regulatory Agencies
       Department of Agriculture                                 Government/Regulatory Agencies
       EPA                                                       Government/Regulatory Agencies
       FDA                                                       Government/Regulatory Agencies
       Alabama Department of Revenue                             Taxing Authorities
       Brunswick County Revenue Dept.                            Taxing Authorities
       California Department of Tax                              Taxing Authorities
       City of Emeryville                                        Taxing Authorities
       DC Treasurer                                              Taxing Authorities
       Delaware Secretary of State                               Taxing Authorities
       HMRC Birmingham Stamp Office                              Taxing Authorities
       Internal Revenue Service Center                           Taxing Authorities
       NCDOR                                                     Taxing Authorities
       New York State Corporation Tax                            Taxing Authorities
       North Carolina Dept of Revenue                            Taxing Authorities
       North Carolina Secretary of State                         Taxing Authorities
       NYC Department of Finance                                 Taxing Authorities
       Oklahoma Tax Commission - Franchise                       Taxing Authorities
       Pinheironeto Advogados                                    Taxing Authorities
       State of California Franchise Tax Board                   Taxing Authorities
       State of New Jersey                                       Taxing Authorities
       Texas Comptroller of Public Accts                         Taxing Authorities
       The Commonwealth of Massachusetts                         Taxing Authorities
       United States Small Business Admin                        Taxing Authorities
       United States Treasury                                    Taxing Authorities
       Wyoming Department of Revenue                             Taxing Authorities
       ADL BIOPHARMA                                             Trade Vendors
       Agilent Technologies Inc                                  Trade Vendors
       Allog Transportes Internaciona                            Trade Vendors
       Allure Labs, Inc.                                         Trade Vendors
       Avalara, Inc.                                             Trade Vendors
       Berma LLC DBA NoGood                                      Trade Vendors
       Bio Base Europe Pilot Plant                               Trade Vendors
       Capsum Inc.                                               Trade Vendors
       CFGI Holdings, LLC                                        Trade Vendors
       Cigna HealthCare                                          Trade Vendors
       Colorado Quality Products, LLC                            Trade Vendors
       Cosmetix West                                             Trade Vendors
       CPCneutek                                                 Trade Vendors
       DB Ventures Limited                                       Trade Vendors
       DSM Nutritional Products Ltd                              Trade Vendors
       ECS Axcess Point LLC                                      Trade Vendors
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       Evonik Corporation                                     Trade Vendors
       Facebook, Inc.                                         Trade Vendors
       Folio3 Software Inc                                    Trade Vendors
       Fusion Packaging, LLC                                  Trade Vendors
       Global4PL Supply Chain Services                        Trade Vendors
       Hanft Ideas LLC                                        Trade Vendors
       Hearst Magazine Media                                  Trade Vendors
       JVN Entertainment INC                                  Trade Vendors
       Little Bear Studios                                    Trade Vendors
       Mass Construction Corporation                          Trade Vendors
       MuteSix, LLC                                           Trade Vendors
       NB Ventures, Inc.                                      Trade Vendors
       Nest-Filler USA                                        Trade Vendors
       Outfront Media                                         Trade Vendors
       PerkinElmer Informatics Inc.                           Trade Vendors
       Perpetua Labs, Inc.                                    Trade Vendors
       Petty Cash Inc                                         Trade Vendors
       Pinterest, Inc                                         Trade Vendors
       PMG Worldwide, LLC                                     Trade Vendors
       Quiet Logistics, Inc.                                  Trade Vendors
       Rakuten Advertising                                    Trade Vendors
       Renfield Manufacturing LLC                             Trade Vendors
       RR Donnelley & Sons Company                            Trade Vendors
       Sartorius Stedim North America                         Trade Vendors
       TargetCW                                               Trade Vendors
       Todd Shemarya Artists, Inc.                            Trade Vendors
       Walmart Inc                                            Trade Vendors
       Wiley Companies                                        Trade Vendors
       Wisconsin BioProducts                                  Trade Vendors
       World Wide Technology, LLC                             Trade Vendors
       Benjamin Hackman                                       U.S. Trustee Office
       Christine Green                                        U.S. Trustee Office
       Diane Giordano                                         U.S. Trustee Office
       Dion Wynn                                              U.S. Trustee Office
       Edith A. Serrano                                       U.S. Trustee Office
       Hannah M. McCollum                                     U.S. Trustee Office
       Holly Dice                                             U.S. Trustee Office
       James R. O'Malley                                      U.S. Trustee Office
       Jane Leamy                                             U.S. Trustee Office
       Joseph Cudia                                           U.S. Trustee Office
       Joseph McMahon                                         U.S. Trustee Office
       Juliet Sarkessian                                      U.S. Trustee Office
       Lauren Attix                                           U.S. Trustee Office
       Linda Casey                                            U.S. Trustee Office
       Linda Richenderfer                                     U.S. Trustee Office
       Nyanquoi Jones                                         U.S. Trustee Office
       Richard Schepacarter                                   U.S. Trustee Office
       Rosa Sierra-Fox                                        U.S. Trustee Office
       Shakima L. Dortch                                      U.S. Trustee Office
       Timothy J. Fox, Jr.                                    U.S. Trustee Office
       ACI FLORIDA POWER & LIGHT                              Utilities
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      Advanced Chemical Transport Inc                              Utilities
      AT&T                                                         Utilities
      Brunswick County Public Utilities                            Utilities
      ConEdison                                                    Utilities
      Duke Energy                                                  Utilities
      East Bay Municipal Utility District                          Utilities
      GFL Environmental - Company                                  Utilities
      M&M Sanitation Corporation                                   Utilities
      NC Division of Waste Management                              Utilities
      Pacific Gas and Electric Company                             Utilities
      Piedmont Natural Gas                                         Utilities
      Waste Management of Alameda County                           Utilities
      Waste Management of Alameda County                           Utilities
      Winters Bros Waste Systems                                   Utilities
      U.S. Bank National Association, as Trustee for Convertible   Top 30 Creditors
      Notes
      Palm beach Holdings 3940 LLC                                 Top 30 Creditors
      Cosan US LLC                                                 Top 30 Creditors
      DB Ventures Ltd.                                             Top 30 Creditors
      Epic W12 LLC                                                 Top 30 Creditors
      PMG Worldwide, LLC                                           Top 30 Creditors
      Nikko Chemicals Co Ltd                                       Top 30 Creditors
      Sartorius Stedim North America                               Top 30 Creditors
      Hearst Magazine Media                                        Top 30 Creditors
      Wiley Companies                                              Top 30 Creditors
      Park Wynwood, LLC                                            Top 30 Creditors
      Allog Transportes Internaciona                               Top 30 Creditors
      Nest-Filler USA                                              Top 30 Creditors
      ADL Biopharma                                                Top 30 Creditors
      Cosmetix West                                                Top 30 Creditors
      Evonik Corporation                                           Top 30 Creditors
      Todd Shemarya Artists, Inc.                                  Top 30 Creditors
      Allure Labs, Inc.                                            Top 30 Creditors
      Shearman & Sterling LLP                                      Top 30 Creditors
      Rakuten Advertising                                          Top 30 Creditors
      ES East, LLC                                                 Top 30 Creditors
      Workday, Inc.                                                Top 30 Creditors
      Nippon Surfactant Industries Co., Ltd (Nissa)                Top 30 Creditors
      Gibson, Dunn & Crutcher LLP                                  Top 30 Creditors
      Global4PL Supply Chain Services                              Top 30 Creditors
      Outfront Media                                               Top 30 Creditors
      Northwest Comsmetics Labs                                    Top 30 Creditors
      Muirisc, LLC                                                 Lenders
      Stewart Ward & Josephson LLP                                 Landlords
      Shartsis Friese LLP                                          Landlords
      Design District ERFR LLC & RFR Holding LLC                   Landlords
      TriStar Capital LLC                                          Landlords
      McDermott Will & Emery LLP                                   Landlords
      Weisman, Brodie, Starr & Margolies, P.A.                     Landlords
      Olshan Frome Wolosky LLP                                     Landlords
      Design District Development Partners LLC                     Landlords
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       Colliers International                                Landlords
       Caliope Realty Associatees LLC                        Landlords
       Duane Ventures                                        Landlords
       Chodosh Realty Services, Inc                          Landlords
       Flowing Water Creek, LLC                              Landlords
       CPI Hospitality LLC                                   Landlords
       Epic W12 LLC                                          Landlords
       Lachtman Cohen P.C                                    Landlords
       Kaufman Friedman Plotnicki & Grun, LLP                Landlords
       Crown Properties                                      Landlords
       Larringa Sisters LLC                                  Landlords
       Continental Real Estate Companies                     Landlords
       Goodwin Procter LLP                                   Lenders’ Professionals
       Troutman Pepper Hamilton Sanders LLP                  Lenders’ Professionals
       Ankura                                                Bankruptcy Professionals
       Phil Gund, Chief Restructuring Officer                Bankruptcy Professionals
       Advanced Chemical Transport Inc                       Utilities
       AT&T Mobility LLC                                     Utilities
       AT&T U-verse(SM)                                      Utilities
       CloudWyze                                             Utilities
       First Digital Communications, LLC                     Utilities
       Garratt-Callahan Company                              Utilities
       Linde Gas & Equipment Inc.                            Utilities
       Paxio Inc                                             Utilities
       US Waste Industries, Inc.                             Utilities
       Verizon Wireless                                      Utilities
       Deloitte Consulting, LLP                              Ordinary Course Professionals
       Fish & Richardson P.C.                                Ordinary Course Professionals
       Microsoft Corporation                                 Top 30 Creditors
       Hollis R&D Associates                                 Top 30 Creditors
       DSM USA                                               Top 30 Creditors




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